Case 2:04-cr-20258-BBD Document 50 Filed 04/25/05 Page 1 of 2 Page|D 45%

|N THE UN|TED STATES DiSTR|CT COURT ,,
FOR THE VVESTERN D|STR|CT OF TENNESSEE "J
WESTERN DlVlS|ON

.»;i'"":t rla ..;_:`;;'¢ \. ,=

C.i",i

i"ti_'i;‘il._'nl' l":i. L`j‘i
:"‘j " “

. ' ’ `O
l 31 '~~ t jr
=rr.c.

   

lij `i"i\!, iii»'lt.iw'r`}i“‘ii$

UNiTED STATES OF AN|ER|CA
P|aintiff

VS.
CR. NO. 04-20258-D

ANTON|O GRAYER

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Apri| 19, 2005. At that time, counsel for the
defendant requested a continuance of the |Vlay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a @pgr_t
date of Thursdav. Mav19. 2005. at 9:00 a.m., in Courtroom 3, ch F|oor of the Federa|
Building, l\/|emphis, TN.

The period from lVlay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) becausethe ends ofjustice served in allowing for additional time

to prepare outweigh the need for a speedy trial.

rr is so oRot-:RED this 555 day of April, 2005.

    

BE NlCE B. D NALD `
U |TED STATES DlSTRICT JUDGE

This document entered on the docket sheet in compliance
- ' ll -,?’2'@5
with Ftule 55 and/or 32{b) F-‘FlCrF' on

 

   

UNITED sATE DSTIIC COURT - WESTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:04-CR-20258 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

i\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

